                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                              Plaintiff,              Case No. 17-CR-124-2-JPS
 v.

 MARCUS HUTCHINS,                                                       ORDER

                              Defendant.


1.     INTRODUCTION

       Defendant Marcus Hutchins is a hacker who received considerable

attention for disabling a North Korean malware called WannaCry. He has

a reputation as a “white hat” hacker, which implies a hacker who works for

the benefit of the public. Hutchins has nevertheless been indicted for

various crimes related to his activity with two forms of malware, “Kronos”

and “UPAS Kit.”

       On March 30, 2018, Hutchins filed a motion to suppress the

statement that he made to Federal Bureau of Investigation (“FBI”) agents

immediately following his arrest, as well as any evidence the government

may have obtained as a result. (Docket #55). On July 13, 2018, Hutchins also

filed three motions to dismiss various counts in the superseding indictment.

(Docket #92, #95, and #96).1 Magistrate Judge Nancy Joseph issued a report

and recommendation in which she recommended denying all motions.



       1 Hutchins’s motion to dismiss for failure to state offenses and multiplicity
(Docket #95) relates to the superseding indictment and is intended to replace his
original motion to dismiss (Docket #56), which will be denied as moot.



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(Docket #109). Hutchins timely objected, and each party has fully briefed

the issues. The Court will address each of the motions below. In accord with

Magistrate Joseph’s analyses, all motions will be denied. The Court will

overrule    Hutchins’s     objections    and      adopt   Magistrate   Joseph’s

recommendation in large measure.

2.     LEGAL STANDARD

       When reviewing a magistrate’s recommendation, this Court is

obliged to analyze de novo “those portions of the report or specified

proposed findings or recommendations to which objection is made.” 28

U.S.C. § 636(b)(1)(C). The Court can “accept, reject, or modify, in whole or

in part, the findings or recommendations made by the magistrate.” Id. The

Court’s review encompasses both the magistrate’s legal analysis and factual

findings. Id.; see also Fed. R. Crim. P. 59(b).

3.     RELEVANT FACTS

       Hutchins, a citizen of the United Kingdom, is a coder and hacker of

considerable repute. He is most well-known for finding the kill-switch to a

North Korean malware called WannaCry in May 2017. According to the

superseding indictment, several years ago, Hutchins developed two types

of malware, UPAS Kit and Kronos (a “banking trojan”).

       The superseding indictment alleges that Hutchins developed UPAS

Kit and, in 2012, sold it to Individual A, who then sold it to an individual in

the Eastern District of Wisconsin. At some point before July 2014, Hutchins

allegedly developed Kronos and provided it to Individual A, intending for

Individual A to advertise, promote, and sell it. Hutchins used a YouTube

video to demonstrate how Kronos worked, and referred prospective

customers to Individual A. In December 2014, Hutchins hacked and

analyzed a malware that competed with Kronos, and published a blog post


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describing the competing malware’s vulnerability. In February 2015,

Hutchins allegedly updated the Kronos malware, and distributed it to

Individual B, who was located in California and was known to be involved

in cyber-based criminal activities.

       On July 11, 2017, a grand jury indicted Hutchins on various counts

related to his activity with the malware. He was charged with conspiracy,

fraud, and unlawfully intercepting communications. (Docket #1). On June

5, 2018, the government filed a superseding indictment with additional

charges. (Docket #86). In Count One, the superseding indictment charges

Hutchins with conspiring to violate the Computer Fraud and Abuse Act

(“CFAA”), 18 U.S.C. § 1030, and the Electronic Communications Privacy

Act (“Wiretap Act”), 18 U.S.C. § 2510 et seq., in violation of 18 U.S.C. § 371.

Counts Two and Three charge Hutchins with disseminating, aiding, and

abetting an attempt to advertise the malware, in violation of the Wiretap

Act. Counts Four and Five charge Hutchins with aiding and abetting the

distribution of the malware, in violation of the Wiretap Act. Count Six

charges Hutchins with using, or getting others to use, the malware to

intercept communications in violation of the Wiretap Act. Count Seven

charges Hutchins with causing, aiding, and abetting the transmission of

malware in violation of the CFAA. Count Eight charges Hutchins with

aiding and abetting the intentional access and damage to protected

computers for the purpose of private financial gain, in violation of the

CFAA. Count Nine charges Hutchins with lying to the FBI about whether

he knew that his computer code was part of Kronos, in violation of 18 U.S.C.

§ 1001(a)(2). Finally, Count Ten charges Hutchins with conspiring to

commit fraud in connection with his malware activities, in violation of 18

U.S.C. §§ 1343, 1349.


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      In the summer of 2017, Hutchins spent a week in Las Vegas to attend

“Defcon,” which is a conference for hackers. On August 2, 2017, Hutchins

was about to embark on his journey back to the U.K. Hutchins was waiting

in a lounge at the Las Vegas airport when a federal agent and two Customs

and Border Patrol (“CBP”) officials approached him. Unbeknownst to him,

FBI Special Agents Lee Chartier (“Chartier”) and Jamie Butcher (“Butcher”)

had been monitoring Hutchins’s whereabouts all morning, and had

followed him to the airport, through security, and to his lounge. Although

the FBI had originally planned to arrest Hutchins as he boarded the flight,

they opted to arrest him earlier in order to ensure that he did not consume

any alcoholic beverages that might affect his ability to answer questions in

an interrogation. Indeed, Hutchins had spent much of the week partying,

which included ingesting various intoxicating substances. He had had very

little sleep the night before. There are no allegations, however, that

Hutchins was intoxicated whilst at the airport—only exhausted and, it can

be assumed, terribly hungover.

      Thus, at approximately 1:17 p.m., Hutchins was approached in the

airport lounge by two CBP officers and a plainclothes FBI agent, Chartier.

These officials escorted Hutchins to a stairwell, whereupon he was

handcuffed. Chartier informed Hutchins that he was under arrest pursuant

to a federal warrant. The officials then led Hutchins to an interview room,

where Butcher was waiting. The agents observed Hutchins to be alert,

engaged, and not visibly intoxicated or disoriented. Hutchins verbally

confirmed that he was able to answer questions and was not drunk.

Hutchins received his Miranda rights orally. He was also given an

advisement of rights form. He listened to his rights and signed the

advisement form in the presence of both agents. There is a dispute as to


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what time he signed it, but the Court does not find this to be material for

reasons that will be explained below.

       Hutchins then proceeded to respond to the questions asked by the

agents, and gave consent for them to search his phones, laptops, backpacks,

and USB drives. He did not request a lawyer or invoke his right to remain

silent, although he did ask “what this is all about.” The agents told him they

would explain eventually, but continued questioning him. In total,

Hutchins was questioned for approximately 105 minutes. He was offered

food, an opportunity to use the restroom, and—eventually—allowed to

contact his mother. He was not shown a copy of the arrest warrant until

over an hour into the interrogation.2

       Hutchins showed every indication of being voluntarily cooperative

with the agents, but was also clearly confused about the nature of the

interrogation. The interrogation began with broad questions about his

career and his online activities, but about ten minutes in, the questions

focused on Hutchins’s involvement with malware. Hutchins acknowledged

that when he was younger, he had written some code that ultimately ended

up in malware, but denied that he developed malware. About eleven

minutes into the interrogation, after looking at a string of code, Hutchins

asked if they were looking for the developer of Kronos. Hutchins stated that

       2The Court notes that the agents’ testimony is somewhat contradictory on
this point. Chartier stated that they showed Hutchins the warrant before the
interrogation was recorded. By contrast, Butcher stated that they first showed
Hutchins the warrant over an hour into the interrogation. The recording of the
interrogation suggests that Butcher is correct. Specifically, over an hour into the
recording, Chartier says: “Okay. Well, here’s the arrest warrant. And just to be
honest—just to be honest, hey, now I’m going to tell you the truth…If I’m being
honest with you, Marcus, this has absolutely nothing to do with WannaCry.” The
balance of the evidence strongly suggests that Hutchins was not shown the arrest
warrant until over an hour into the interrogation.


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he did not develop Kronos, and he had “gotten out” of writing code for

malware before he was eighteen. Thirteen minutes in, he said that he had

feared that law enforcement authorities would come after him, instead of

the actual developer, because pieces of his code appeared in Kronos. Thus,

Hutchins was aware that the criminal investigation was, at least in part,

about Kronos, and that he was implicated in the investigation, although he

expressed confusion about why he was being detained throughout the

interrogation. Almost eighty minutes into the recorded interrogation, the

agents finally provided him with the warrant, and told him that it had

“nothing to do with WannaCry.” The interrogation continued for about

twenty minutes after that. Throughout the remainder of the interrogation,

Hutchins tried to be helpful but noted that he had been “out” of so-called

“black hat” hacking for so long that he did not have any helpful

connections.

       Hutchins was taken to a jail, where he proceeded to make two phone

calls, which were recorded. Prior to making the phone calls, Hutchins was

informed that the phone calls were subject to monitoring and recording. In

the calls, Hutchins also made incriminating statements.

4.     ANALYSIS

       4.1     Motion to Suppress

       Hutchins seeks to suppress his post-arrest statements and any

evidence that may have been obtained as a result of his statements. He

argues that he did not waive his Miranda rights, (Docket #55 at 6–9), and

submits that the government has not met its burden in rebutting the

presumption against waiver, (Docket #111 at 13). Hutchins calls into

question whether (1) he received notice of his rights at all; and (2) whether

he was able to voluntarily waive his rights due to his intoxication, his


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limited understanding of the American criminal procedural system, and the

deceptive nature of the interrogation.

       It is axiomatic that law enforcement officers must inform suspects of

their Miranda rights before a custodial interrogation. United States v.

Thurman, 889 F.3d 356, 364 (7th Cir. 2018). “If the suspect invokes his rights,

the officers must cease their questioning.” Id. However, before officers must

cease their questioning, the burden is on the suspect to assert his Miranda

rights in a “clear and unambiguous” fashion. Id. (quoting United States v.

Lee, 413 F.3d 622, 625 (7th Cir. 2005)). Hutchins did not make any statements

regarding his intent to invoke his Miranda rights; therefore, his rights were

not invoked in a clear and unambiguous fashion. The interrogation

properly proceeded.

       However, “[e]ven if a suspect does not invoke his Miranda rights, his

self-incriminating statements cannot be used against him in court unless the

Government shows by a preponderance of the evidence that he voluntarily

waived these rights.” Thurman, 889 F.3d at 364 (citing Berghuis v. Thompkins,

560 U.S. 370, 382–84 (2010); United States v. Brown, 664 F.3d 1115, 1118 (7th

Cir. 2011)). Indeed, the Court must “indulge in every reasonable

presumption against waiver.” Brewer v. Williams, 430 U.S. 387, 404 (1977).

In order to rebut the presumption, the government must show that

Hutchins’s decision to give up his rights was “the product of a free and

deliberate choice. . .made with a full awareness of both the nature of the

right being abandoned and the consequences of the decision to abandon it.”

Berghuis, 560 U.S. at 382–83 (internal quotations and citations omitted).

       Voluntariness, or free and deliberate choice, is assessed in view of

the totality of the circumstances. Brown, 664 F.3d at 1118. The Court will

consider, among other things, a defendant’s age, level of education, and


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prior experience with law enforcement, as well as the conditions of the

interrogation itself and the attitude of the interrogating officials. Thurman,

889 F.3d at 364–65; Brown, 664 F.3d at 1118; United States v. Shabaz, 579 F.3d

815, 820 (7th Cir. 2009). “The law can presume that an individual who, with

a full understanding of his or her rights, acts in a manner inconsistent with

their exercise has made a deliberate choice to relinquish the protection those

rights afford.” Berghuis, 560 U.S. at 385; Thurman, 889 F.3d at 364–65 (finding

waiver despite refusal to sign a waiver form because the defendant

understood his rights, the interrogation was “low key and informal,” and

defendant engaged in the interrogation); United States v. Smith, 218 F.3d 777,

781 (7th Cir. 2000) (finding waiver despite refusal to sign waiver form

where a suspect “immediately began talking to the agents…[and] never

requested an attorney and never asked that the questioning be stopped.”).

              4.1.1   Adequate Receipt of Miranda Rights

       Hutchins argues that there is insufficient evidence that he received

notice of his Miranda rights. This argument is a non-starter, in part because

Hutchins acknowledges that he was read his rights. (Docket #55 at 5–6)

(“[T]here seems to be little doubt that the agents—in some unspecified

fashion, at an uncertain time—advised Mr. Hutchins of his rights under

Miranda.”). Hutchins makes much about the fact that there is no proof that

he received his rights at the beginning of the interrogation, but he does not

suggest when else they may have been given. Additionally, both agents

have testified, under oath and in non-contradictory terms, that the rights

were given at the beginning of the interrogation. Moreover, in the recorded

portion of the interrogation, Butcher provided Hutchins with a consent

form to search his computers and said, “because we’re the government,

there’s a form for that, too,” implying that Hutchins had previously


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received other consent forms. The Court sees no reasonable basis to

conclude that Hutchins did not receive notice of his rights before the

interrogation.

       Additionally, it does not actually matter when Hutchins signed the

advisement of rights form, so long as he was apprised of his Miranda rights

prior to questioning. “[T]he rigidity of Miranda does not extend to the

precise formulation of the warnings given a criminal defendant. . .[and] no

talismanic incantation is required to satisfy its strictures.” Duckworth v.

Eagen, 492 U.S. 195, 202–03 (1989) (quoting California v. Prysock, 453 U.S. 355,

359 (1981)) (internal quotation marks omitted). Courts merely look to

whether the law enforcement officers “fully conveyed” the rights. Prysock,

453 U.S. at 361; In re Terrorist Bombing of U.S. Embassies in E. Africa, 552 F.3d

177, 209 (2d Cir. 2008) (oral warnings sufficient to satisfy Miranda regardless

of any alleged deficiencies in the advisement of rights form). In light of

Hutchins’s admission that he received his Miranda rights, and in light of the

agents’ corroborating testimony that this occurred before the interrogation,

as well as the lack of any indication of when else he may have received

them, the Court finds that Hutchins was sufficiently apprised of his rights

before the interrogation.

              4.1.2    Voluntariness of Waiver

       The waiver of Hutchins’s Miranda rights must have been “voluntary

in the sense that it was the product of a free and deliberate choice rather

than intimidation, coercion, or deception.” Moran v. Burbine, 475 U.S. 412,

421 (1986). Hutchins must also have waived his rights with “a full

awareness of both the nature of the right being abandoned and the

consequences of the decision to abandon it.” Id. Hutchins argues he did not

voluntarily waive his Miranda rights because he was intoxicated, unsure


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about American criminal procedure, and deceived by the questioning

agents as to the nature of his arrest. These factors will be assessed in turn.

                      4.1.2.1   Intoxication

       In assessing the validity of a Miranda waiver, courts may consider

intoxication, lack of sleep, or other physical discomfort as they affect a

defendant’s susceptibility to coercion. See United States v. Brooks, 125 F.3d

484, 491 (7th Cir. 1997) (finding voluntary waiver despite the fact that

defendant was high on crack, sleep deprived, and in pain). However,

“intoxication. . .by itself—without some showing of coercion by the

government—will not negate voluntariness.” United States v. Chrimson, 965

F.2d 1465, 1469 (7th Cir. 1992); Anderson v. Thieret, 903 F.2d 526, 530–31 (7th

Cir. 1990) (noting that impairment is unlikely where approximately 19

hours had elapsed between the defendant’s last drink and his confession).

Additionally, “mental state alone cannot make [a defendant’s] confession

involuntary. . .[I]t is relevant only to the extent it made him more

susceptible to mentally coercive police tactics.” Id. at 530 n.1 (citing Colorado

v. Connelly, 479 U.S. 157, 163–67 (1986)).

       It is unlikely that Hutchins’s alleged impairment significantly

factored into his ability to give a voluntary waiver or made him more

susceptible to deceptive interrogation tactics. The agents monitored

Hutchins from the beginning of the day to ensure that he was sober when

he was arrested. They ensured that he was in custody before he had the

opportunity to drink at the airport. They walked him to two separate

locations (first, the stairwell; second, the interview room) and engaged him

in conversation, which gave them opportunity to evaluate whether

Hutchins appeared to be somehow impaired by an intoxicant. Hutchins

appeared to be alert, engaged, coordinated, and coherent. There is no


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evidence in the record to the contrary. There is also no evidence, nor does

Hutchins claim, that he was under the influence of drugs that day—only

that he was exhausted. But a terrible hangover alone does not, as a matter

of law, render someone unable to exercise or waive their Miranda rights.

This factor does not weigh in Hutchins’s favor.

                        4.1.2.2   Intelligent Waiver

       Hutchins next argues that he did not appreciate the nature of his

Miranda rights, or the consequences of waiving them, because he was

confused by the purpose of the interrogation, and believed, based on U.K.

criminal procedure, that it would be helpful for him to speak in his defense.

(Docket #111 at 13).3

       The Court takes judicial notice of the warning given to suspects upon

arrest in the U.K., which advises: “You do not have to say anything. But it

may harm your defence if you do not mention when questioned something

which you later rely on in Court. Anything you do say may be given in

evidence.” Police and Criminal Evidence Act 1984 Code G ¶ 3.5, Revised

Code of Practice for the Statutory Power of Arrest by Police Officers

(revised                                July                                 2012),

https://www.gov.uk/government/uploads/system/uploads/attachment_da

ta/file/117583/pace-code-g-2012.pdf. For comparison, an arrest warning in

the United States reads to the effect of, “you have the right to remain silent,


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          Hutchins also stresses that agents arrested him at the last possible
moment, rather than on July 11, 2017, when the indictment came in, in order to
confuse him. The logic underlying this argument is not entirely clear, and there
are other obvious, less nefarious reasons why there might be a delay in the arrest
(e.g., the desire to prolong the investigation throughout the conference; the arrest
logistics). It is not eminently clear what is confusing about being arrested on the
plane versus at any point earlier.



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anything you say can and will be used against you in a court of law.” See

e.g., Miranda v. Arizona, 384 U.S. 436, 444 (1966).

       On its face, the U.K. warning appears to serve the same function as

the U.S. warning, but there are important differences that theoretically

would have affected whether Hutchins appreciated the consequence of

giving up his right to remain silent. In the U.K., a defendant is told, “You

do not have to say anything.” There is neither right, nor waiver—the

consequence stems, in fact, from not saying anything (“it may harm your

defence if you do not mention when questioned…”). By contrast, in the

U.S., a defendant is told “you have a right to remain silent,” and the

consequences of failing to remain silent are clear: “anything you say can

and will be used against you.” The warnings—and their consequences—are

substantively different, although their cadences are similar. It is conceivable

that anyone—even a well-educated person—would find comfort in the

broad similarities between the two, and believe that, wording aside, the

substance is the same.

       The Seventh Circuit has held that Miranda waivers are valid so long

as the defendant has a general understanding of the nature of the right, and

the consequences of waiver. See Collins v. Gaetz, 612 F.3d 574, 588 (7th Cir.

2010). In Gaetz, which evaluated a person of limited mental capacity’s

ability to waive his rights, the Court of Appeals referred to a “relatively low

bar in proving an intelligent waiver,” whereby a defendant need only

comprehend the most basic concepts underlying Miranda. Id. Other circuits

to consider this issue in the context of foreign citizens have invalidated a

waiver only where the defendant’s grasp on the interrogating language was

so attenuated that he could not intelligently waive his rights. See United

States v. Amano, 229 F.3d 801, 805 (9th Cir. 2000) (finding that a defendant’s


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lack of contact with the U.S. criminal justice system and the Japanese

consulate “did not render his waiver involuntary” in light of evidence that

he understood English, was read his rights twice, and claimed to

understand them); c.f. United States v. Garibay, 143 F.3d 534, 538–39 (9th Cir.

1998) (finding no valid waiver where the defendant was not fluent in

English and had a low verbal IQ); United States v. Zaitar, 858 F. Supp. 2d

103, 115–16 (D.D.C. 2012) (finding no valid waiver of counsel during an

interview in Romania conducted in Portuguese by American officials,

where the defendant, a native Lebanese speaker, responded affirmatively

to all questions except the question regarding waiver of counsel, to which

he replied, nonsensically, “I understand Portuguese.”).

       Hutchins is a well-educated English-speaker from a common law

country. Although there is no language barrier, he claims that he did not

understand the consequences of waiving his Miranda rights in light of the

subtle, but substantive, differences between U.S. and U.K. arrest procedure.

The Court is inclined to agree that these differences, though small, are

elemental enough that they may have affected Hutchins’s understanding of

the basic concepts underlying Miranda (i.e., whether it would be helpful for

him to speak). However, in light of Hutchins’s mental acuity, the Court

cannot find that his waiver was unintelligent. This factor does not weigh

heavily in his favor.

                        4.1.2.3   Deception

       In order to establish that his statement was the product of deception,

Hutchins bears the burden of showing by “clear and convincing evidence

that that the agents affirmatively mislead him as to the true nature of their

investigation.” United States. v. Serlin, 707 F.2d 953, 956 (7th Cir. 1983).

“Defendant must also prove that the misinformation was material in his


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decision to speak with the agents.” Id. “Simple failure to inform defendant

that he was the subject of the investigation, or that the investigation was

criminal in nature, does not amount to affirmative deceit unless defendant

inquired about the nature of the investigation and the agents’ failure to

respond was intended to mislead.” Id. The fact that an agent makes

misrepresentations to a defendant, while relevant, is “insufficient. . .to

make [an] otherwise voluntary confession inadmissible.” Frazier v. Cupp,

394 U.S. 731, 739 (1969); but see United States v. Giddins, 858 F.3d 870, 885 (4th

Cir. 2017) (finding that a defendant’s will was “overborne or his capacity

for self-determination critically impaired” where he voluntarily went to the

police station under the pretense of retrieving an impounded car, was

repeatedly told that he was not under arrest or investigation, but was

interrogated anyway).

       In Serlin, a defendant was questioned by the IRS regarding a criminal

investigation, but did not realize that he was the target of the investigation.

707 F.2d at 957. The agents initially told him they were investigating his

business partners, but several minutes into the interview, warned the

defendant not to make incriminating statements. Id. The defendant

continued to speak. Id. The Seventh Circuit determined that the defendant’s

statements “were not the product of affirmative deceit,” in large part

because the statements that the agents made were true—the agents were, in

fact, investigating the defendant’s business partners as well. Id. Moreover,

the agents warned the defendant not to incriminate himself, and then

specifically asked about his own failure to file taxes. Id. On those facts, the

Seventh Circuit determined that “even the most unsuspecting taxpayer

[would be alerted that he] was, at least partly, the focus of the search.” Id.




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       In this case, Hutchins received his Miranda rights and understood

that he was under arrest for alleged criminal activity, and the investigation

related, at least in some way, to Kronos. However, Hutchins’s recent

triumph with WannaCry had vaulted him into the public eye as a “white

hat” hacker. Thus, Hutchins could have been reasonably confused about

the FBI’s interest in him. In assessing whether he voluntarily waived his

rights, some consideration must be given to the fact that white hat hacking

is a complex and relatively novel field that can toe an already blurry line

vis-à-vis online criminal activity. The agents did not tell Hutchins why he

was under arrest, and did nothing to explain the nature of the charges

against him until the end of his interrogation. Hutchins, who had no cause

for concern regarding his role in WannaCry, and who had distanced

himself from nefarious internet activity, cooperated. The interrogation

ended twenty minutes after he was presented with the warrant, though he

continued to consent to searches and answer questions after he understood

the charges against him.

       This case differs from Serlin in one salient way: Hutchins had already

been indicted on a host of specific charges. Thus, the aim of the agents’

questioning was not to cobble together enough information to establish

probable cause for arrest, as it was in Serlin. Rather, the purpose of the

interrogation was to continue collecting enough evidence to establish guilt

beyond a reasonable doubt. The stakes were dramatically higher, and

Hutchins’s privilege against self-incrimination all the more precious. The

government argues that this fact cuts against Hutchins—that is, he

understood that the “nature” of the investigation was criminal, and should

have known not to make incriminating statements. However, this ignores

the context of Hutchins’s work as a hacker. Hutchins had recently dealt


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with matters of international concern, and reasonably believed that it was

in his best interest to answer their questions. At one point in the

interrogation, he made a comment that showed that he did not realize he

had even been indicted. There is no reason why the government could not

have told him exactly why he was arrested, as he requested, and as was

required of them by Federal Rule of Criminal Procedure 4(c), unless they

were concerned that he would not be cooperative with them. There is

certainly an element of deception to this set of events that the Court does

not endorse.

       On the other hand, the scope of the agents’ questions should have

put Hutchins on notice of the nature of the investigation. The agents did not

try to “hide the ball,” so to speak, about their interest in Kronos, and asked

him about it early and often in the interrogation. And although the agents

acted very familiarly with Hutchins, which may have put him at false ease,

Chartier did remind him that he was in trouble. The Court is concerned by

the abject failure of the agents to abide by the Federal Rules of Criminal

Procedure 4(c), but their obvious interest in Kronos—including providing

Hutchins with a string of code related to Kronos—leads the Court to

conclude that there is not clear and convincing evidence that they acted

with intent to deceive. Moreover, the fact that Hutchins continued to

answer questions and consented to the search after he knew the substance

of the indictment indicates that the deception was not material to his

statements—that is, it seems that he would have attempted to be helpful

even if he had seen the warrant.4


       Hutchins does not argue the effect of the violation of Federal Rule of
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Criminal Procedure 4(c)(3)(A), which governs execution of a warrant:



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                       4.1.2.4    Totality of the Circumstances

       Under the totality of the circumstances—considering Hutchins’s

exhausted state, his unfamiliarity with the American criminal procedure

system, his high level of intelligence, and the lack of material deception,

there is an insufficient basis for the Court to find that Hutchins’s statements

were involuntary. It is wholly improper that he was not provided with a

warrant immediately upon arrest. But in light of the record of the post-

arrest interrogation, the government has met its burden in proving that the

waiver was voluntary. Thurman, 889 F.3d at 364.

       4.2    Motion to Dismiss

       Hutchins advances several motions to dismiss, all of which must be

denied for the reasons given below. A motion to dismiss is proper where

an indictment fails to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). The

indictment must contain a “plain, concise, and definite written statement of


       Upon arrest, an officer possessing the original or a duplicate
       original warrant must show it to the defendant. If the officer does
       not possess the warrant, the officer must inform the defendant of
       the warrant’s existence and of the offense charged and, at the
       defendant’s request, must show the original or a duplicate original
       warrant to the defendant as soon as possible.

        Few courts have had moment to consider whether a violation of this rule
would warrant exclusion of evidence, though it certainly might, for deterrent
purposes, if the violation compromised a substantive constitutional right and the
officers acted bad faith. Bryson v. United States, 419 F.2d 695, 701–02 (D.C. Cir.
1969); Murray v. United States, 855 P.2d 350, 353–56 (Wyo. 1993); United States v.
Hamilton, 2017 WL 9476881, at *5 (N.D. Ga. Jan. 3, 2017). However, Hutchins did
not raise this issue, so the Court will not consider it. Additionally, even if his
statements were excluded, it is likely that the physical evidence still would be
admissible. See United States v. Patane, 542 U.S. 630, 637–38 (2004) (failure to give
Miranda warnings requires suppression of voluntary statements, but does not
require suppression of physical evidence acquired as a result of those voluntary
statements).



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the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c)(1).

An indictment meets this rule’s criteria if it “(1) states all the elements of the

crime charged; (2) adequately informs the defendant of the nature of the

charges so that he may prepare a defense; and (3) allows the defendant to

plead the judgment as a bar to any future prosecutions.” United States v.

White, 610 F.3d 956, 958 (7th Cir. 2010). A charge that traces the language

of the statute will typically suffice if it contains enough facts to provide the

defendant with an understanding of the conduct at issue. United States v.

Vaughn, 722 F.3d 918, 925 (7th Cir. 2013). “[T]he presence or absence of any

particular fact is not dispositive.” Id. (quoting White, 610 F. 3d at 958–59).

“A motion to dismiss is not intended to be a ‘summary trial of the

evidence.’” United States v. Yasak, 884 F.2d 996, 1001 (7th Cir. 1989) (quoting

United States v. Winer, 323 F. Supp. 604, 605 (E.D. Pa. 1971)). The Court will

not assess “the strength or weakness of the government’s case” at this

stage—rather, it will consider whether the government is theoretically able

to prove its case. White, 610 F.3d at 958; United States v. Castor, 558 F.2d 379,

384–85 (7th Cir. 1997).

       As Magistrate Joseph noted, the superseding indictment is facially

sufficient because each charge in it lists the date of the alleged wrongful

conduct, the elements of the crime charged, and the nature of the offense

charged—including the software at issue—such that Hutchins would be

protected from double jeopardy. See (Docket #109 at 20). The Court also

agrees with Magistrate Joseph’s analysis of United States v. Risk, 843 F.2d

1059 (7th Cir. 1988), wherein the Seventh Circuit dismissed an indictment

where the government provided a set of undisputed facts that did not

constitute a violation of any statute. In Risk, the issue was not that the

government failed to allege enough facts—it was that the facts the


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government itself alleged could not, as a matter of law, result in a violation

of a statute. Id. at 1061. By contrast, here, the government has alleged that

Hutchins engaged in behavior that violated various statutes, and the

government has not provided a set of undisputed facts to the contrary.

       Accordingly,     the   Court     agrees    with    Magistrate     Joseph’s

determination that the superseding indictment is sufficient. In the interest

of thoroughness, Hutchins’s specific arguments will be addressed below.

              4.2.1   Counts One and Seven Allege “Damage” Under 18
                      U.S.C. § 1030

       Counts One and Seven are brought under the CFAA and allege that

Hutchins conspired and attempted to cause damage to protected

computers. Specifically, Count One alleges that between “July 2012 and

September 2015, in the state and Eastern District of Wisconsin,” Hutchins

“knowingly conspired and agreed with Individual A . . . to:

       (a) knowingly cause and aid and abet the transmission of a
       program, information, code, and command, and as a result of
       such conduct, intentionally cause damage without
       authorization, to 10 or more protected computers during a 1-
       year period, in violation of Title 18, United States Code,
       Sections 1030(a)(5)(A), (c)(4)(B)(i) and (c)(4)(A)(i)(VI) and 2.”
       (Docket #86 at 3) (emphasis added).

       Relatedly, Count Seven alleges that:

       “On or about June 11, 2015, in the state and Eastern District of
       Wisconsin and elsewhere, MARCUS HUTCHINS, aka
       ‘Malwaretech,’ aka ‘irp@jabber.se,’ knowingly caused and
       aided and abetted the transmission of a program,
       information, code and command and as a result of such
       conduct, attempted to cause damage without authorization,
       to 10 or more protected computers during a 1-year period. In
       violation of Title 18, United States Code, Sections
       1030(a)(5)(A), (c)(4)(B)(i) and (ii), (c)(4)(A)(i)(VI), 1030(b), and
       2.” (Docket #86 at 12) (emphasis added).


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        Each count is facially sufficient because it traces the language of the

statute, cites to the statute, and provides a date (and a location) for the

alleged conduct. Vaughn, 722 F.3d at 925. Count One contains additional

allegations, including that Hutchins developed UPAS Kit and provided it

to Individual A, who sold it to an individual in the Eastern District of

Wisconsin. (Docket #86 at 4). The count goes on to allege that Hutchins

developed Kronos intending for Individual A to advertise, promote, and

sell it; used a YouTube video to demonstrate how Kronos worked; updated

the Kronos malware; and evaluated competing malwares. Id. at 4–5. Finally,

it alleges that Hutchins referred prospective customers to Individual A. Id.

at 6.

        Hutchins argues that the facts as alleged are insufficient to state an

offense. He submits that Counts One and Seven “fail[] to allege any facts

that would show that Mr. Hutchins had any intent to cause ‘damage’ to a

protected computer” because the superseding indictment does not allege

that the malware at issue “damage[s]” computers. (Docket #95 at 1 and #111

at 28). The CFAA defines damage as “any impairment to the integrity or

availability of data, a program, a system, or information.” 18 U.S.C. §

1030(e)(8). The superseding indictment states that UPAS Kit is a “malware”

that allows for “unauthorized exfiltration,” and Kronos is a “malware” that

“recorded and exfiltrated” various data. (Docket #86 at 2). Hutchins

suggests that “exfiltrate” means “making a copy of the data and taking it

away,” (Docket #95 at 5), which is not “damage” under the CFAA.

        The Seventh Circuit has held that “damage encompasses clearly

destructive behavior such as using a virus or worm or deleting data. . .[b]ut

it may also include less obviously invasive conduct, such as flooding an

email account.” Fidlar Tech. v. LPS Real Estate Data Solutions, Inc., 810 F.3d


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1075, 1084–85 (7th Cir. 2016) (quotations omitted) (finding that a claim

involving a web-harvester was “trespassory in nature” but “mere access”

did not amount to damage under the CFAA). The word “exfiltrate” has

several definitions, one of which is: “to steal (sensitive data) from a

computer (as with a flash drive).” Exfiltrate, Merriam-Webster Dictionary

Online, https://www.merriam-webster.com/dictionary/exfiltrate (accessed

Jan. 19, 2019). When a person “steals (sensitive data),” as a matter of logic,

they “impair[]. . .the integrity. . .of [the] data [or]. . .system.” 18 U.S.C. §

1030(e)(8). This is more than merely accessing data. C.f. Landmark Credit

Union v. Doberstein, 746 F. Supp. 2d 990, 993–94 (E.D. Wis. 2010) (finding no

damage where former employee accessed and disclosed client list by

emailing it to herself). The superseding indictment also describes the

software at issue as “malware” or “malicious computer code intended to

damage a computer.” (Docket #86 at 2). These terms are sufficient to allege

intent to cause damage. The burden will be on the government to prove this

at trial.

              4.2.2   Counts One Through Six Refer to a “Device” Under
                      18 U.S.C. § 2510(5)

        Counts One through Six are brought under the Wiretap Act, which

criminalizes activity involving “any device or apparatus which can be used

to intercept a wire, oral, or electronic communication.” 18 U.S.C. § 2510(5).

Hutchins argues that software such as Kronos and UPAS Kit should not be

considered “devices” for the purposes of the Wiretap Act because software

is not an “electronic, mechanical, or other device” under Section 2510(5).

Hutchins relies on United States v. Szymuszkiewicz, in which the Court of

Appeals assumed that “devices” referred to computers and servers that

carried out a program, rather than the program itself. 622 F.3d 701, 707 (7th


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Cir. 2010) (discussing a Microsoft Outlook “rule” for email forwarding). In

Szymuszkiewicz, the Court of Appeals considered whether “the ‘device’

used to intercept a communication must differ from the device the intended

audience uses to receive the message,” and determined that it did not. Id.

The opinion did not consider whether a program or a piece of software

could be considered a “device.” Hutchins also relies on Potter v. Havlicek for

the proposition that a software “alone cannot be used to intercept

communications. It must be installed in a device, such as a computer, to be

able to do so.” 2008 U.S. Dist. LEXIS 122211, at *23–24 (S.D. Ohio June 23,

2008). The Havlicek court did not cite any cases directly in support of its

conclusion, and this Court finds its definitional logic faulty: computers,

alone, also cannot be used to intercept communications. They require some

software or program installed in order to have this capability.

       The majority of courts to consider this issue have entertained the

notion that software may be considered a device for the purposes of the

Wiretap Act. See Luis v. Zang, 833 F.3d 619, 630 (6th Cir. 2016) (accepting

that a software could be a “device” for the purpose of the Wiretap Act); In

re Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1087 (N.D. Cal. 2015) (concluding that

a software was an “electronic, mechanical or other device”); Klumb v. Goan,

884 F. Supp. 2d 644, 661–62 (E.D. Ten. 2012) (analyzing spyware software

as a device under Wiretap Act); Rene v. G.F. Fishers, Inc., 817 F. Supp. 2d

1090, 1094 (S.D. Ind. 2011) (holding that keystrokes are not electronic

communications for the purpose of the Wiretap Act, but accepting the

notion that software could be a device); Shefts v. Petrakis, 2012 WL 4049484,

at *8–9 (C.D. Ill. 2012) (analyzing software as a device under the Wiretap

Act); see also United States v. Barrington, 648 F.3d 1178, 1203 (11th Cir. 2011)




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(accepting that a keylogger software could be considered a scanning

receiver, or a device, under 18 U.S.C. § 1029(e)(8)).

       The Court is in accord with the majority of courts to consider this

issue. The Court also agrees with the government’s position that Section

2510(5)’s reference to “mechanism,” which is commonly defined as a

“process, technique, or system for achieving a result” seems to encompass

software. Mechanism, Merriam-Webster Dictionary, https://www.merriam-

webster.com/dictionary/mechanism (accessed Jan. 22, 2019); see also United

States v. Mitra, 405 F.3d 492, 495 (7th Cir. 2005) (acknowledging that general

technology statute should be read broadly in order to accommodate new

developments).

              4.2.3   Counts One, Four Through Eight, and Ten Allege
                      Intent and Causation

       Hutchins argues that the superseding indictment does not allege the

necessary intent and causation elements in Counts One, Four through

Eight, and Ten. The aforementioned counts each contain an intent element

in connection with allegedly distributing malware for illegal purposes.

Hutchins argues that the superseding indictment fails to specifically allege

that he “intended any specific result to occur” as a result of his activities,

and therefore, the superseding indictment does not state offenses. (Docket

#95 at 12).

       These are arguments that go to the merits of the case, i.e., whether

Hutchins had the requisite intent to commit the crimes charged. As

discussed above, the superseding indictment is facially valid, and Hutchins

does not contend that these specific counts lack all elements of the crimes

charged, fail to inform him of the nature of the offenses, or are so

insufficiently pled that he would be prevented from asserting any judgment


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as a bar to future prosecutions of the same offense. Vaughn, 722 F.3d at 925.

The superseding indictment does not need to establish intent—it merely

needs to allege it, which it does by listing the elements of the crimes

charged. As the magistrate noted, Hutchins “tries to impose a standard for

civil pleading on a criminal indictment.” (Docket #109 at 26). Therefore, this

motion to dismiss will be denied.

                 4.2.4   Counts Two and Three are not Multiplicitous

       Hutchins contends that Counts Two and Three are multiplicitous

and submits that Count Three should be dismissed. (Docket #95 at 9–11).

Count Two charges Hutchins with a violation of 18 U.S.C. § 2512(1)(c)(i),

Count Three charges Hutchins with a violation of 18 U.S.C § 2512(1)(c)(ii).

“If one element is required to prove the offense in one count which is not

required to prove the offense in the second count, there is no multiplicity.”

United States v. Conley, 291 F.3d 464, 470 (7th Cir. 2002) (citing United States

v. Briscoe, 896 F.2d 1476, 1522 (7th Cir. 1990) (quoting United States v.

Marquardt, 786 F.2d 771, 778 (7th Cir. 1986)) (internal citations and

quotations omitted)). Put another way, the Court must determine whether

each count requires proof of a fact that the other does not.

       The relevant portions of the statute make it unlawful for a person to

intentionally:

      “(c) place[] in any newspaper, magazine, handbill, or other
publication or disseminate[] by electronic means any advertisement
of—

       (i) any electronic, mechanical, or other device knowing or
       having reason to know that the design of such device renders
       it primarily useful for the purpose of the surreptitious
       interception of wire, oral, or electronic communications; or




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       (ii) any other electronic, mechanical, or other device, where
       such advertisement promotes the use of such device for the
       purpose of the surreptitious interception of wire, oral, or
       electronic communications.” 18 U.S.C. § 2512(1)(c)(i),(ii).

       In other words, Count Two, Section 2512(1)(c)(i), requires that

Hutchins (1) made an advertisement with (2) knowledge or reason to know

that the device’s primary design was for surreptitiously infiltrating

communication. There is no element requiring that Hutchins promoted the

device as one that could be used for the surreptitious interception of

communication, only that he knew its primary design was that.

       By contrast, Count Three, Section 2512(1)(c)(ii), requires that

Hutchins (1) made an advertisement with (2) the claim or promotion that a

device could be used for the surreptitious interception of communication.

Count Three does not require that Hutchins knew or had reason to know

that its primary design was surreptitious interception of communication, as

Count Two requires, only that he promoted it for that purpose.

       Each count contains an element required to prove the offense that is

not required in the other count, and the counts require proof of different

facts. There is no multiplicity.

              4.2.5   Count Seven does not Contain a Grand Jury Defect

       As discussed above, Count Seven alleges violations of the CFAA,

which criminalizes actions intended to damage protected computers. 18

U.S.C. § 1030(a)(5)(A) applies to one who “intentionally causes damage

without authorization.” Count Seven charges Hutchins with “attempt[ing]

to cause damage without authorization.” (Docket #86 at 12). To prove an

attempt to violate Section 1030(a)(5)(A), the government must prove that

(1) Hutchins knowingly took a substantial step toward committing a



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violation of Section 1030(a)(5)(A) and (2) that he did so with the intent to

violate § 1030(a)(5)(A). Seventh Circuit Pattern Jury Instruction 4.09 (2012)

(emphasis added). It is fairly well settled that allegations of “attempt”

necessarily encompasses the intent element. United States v. Resendiz-Ponce,

549 U.S. 102, 107 (2007) (holding that “the word ‘attempt’ as used in

common parlance connote[s] action rather than mere intent, but more

importantly, as used in the law for centuries, it encompasses both the overt

act and intent elements.”) (emphasis added). The indictment must “set forth

all the elements necessary to constitute the offense intended to be

punished” and allow defendant to “pin[] down the specific conduct at

issue.” Smith, 230 F.3d at 305 (internal citations omitted). However, the

absence of any particular fact is not necessarily dispositive, and indictments

are reviewed “on a practical basis and in their entirety, rather than in a

hypertechnical manner.” Id. (quotations and citations omitted); see also

(Docket #109 at 29).

       Hutchins argues that he cannot be charged with attempt to aid and

abet an attempt to violate the CFAA because Count Seven is pled “without

reference to the intentional causing of damage,” as stated in the statute.

(Docket #92 at 5). The superseding indictment alleges that Hutchins

attempted to cause damage, which encompasses the intent element.

Whether the government can actually prove this at trial is a question for

another time.

                4.2.6   Extraterritorial Challenges

       Hutchins argues that Counts Two and Three, which arise under the

Wiretap Act, are an improper exercise of extraterritoriality because they do

not charge domestic conduct. (Docket #96 at 6). He further argues that

Congress did not intend for the Wiretap Act, 18 U.S.C. § 1343, or 18 U.S.C.


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§ 1001 to have extraterritorial application, “so the government must allege

domestic violations of those statutes to state viable claims.” Id. at 8.

       The Court generally agrees with the magistrate’s finding that the

superseding indictment alleges domestic violations of all statutes, and

therefore there is no extraterritoriality issue at hand. For example, the

superseding indictment alleges that the criminal conduct in question

occurred in the Eastern District of Wisconsin. (Docket #86). Specifically, it

alleges that Hutchins developed UPAS Kit and provided it to Individual A,

who subsequently sold it to someone in the Eastern District of Wisconsin.

Id. at 4. The superseding indictment further alleges that Hutchins

developed Kronos and provided it to Individuals A and B, the former of

whom advertised, marketed, and sold Kronos in the Eastern District of

Wisconsin. Id. at 4–6. It also alleges that Hutchens used a YouTube video to

promote the sale of Kronos, and referred interested purchasers of Kronos

to Individual A. Id. at 4, 6. As Magistrate Joseph and this Court have

repeatedly stated, “whether the government will be able to prove that is a

question for another day.” (Docket #109 at 31). However, as stated, the

charges sufficiently allege activity in the United States, specifically in the

Eastern District of Wisconsin. There is no extraterritorial activity at issue.

       However, because there is confusion about the proper standard to

apply in the extraterritorial analysis, the Court takes this opportunity to

clarify the issue in case it should arise in the future. There is a presumption

against applying statutes extraterritorially because “Congress generally

legislates with domestic concerns in mind.” Small v. United States, 544 U.S.

385, 388 (2005) (quotations and citations omitted). This broad presumption

applies in all cases, “preserving a stable background against which

Congress can legislate with predictable effects.” Morrison v. Nat’l Australian


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Bank Ltd., 561 U.S. 247, 261 (2010). “[G]eneral reference to foreign commerce

in the definition of ‘interstate commerce’ does not defeat the presumption

against extraterritoriality.” Id. at 263. Although Congress does not need to

explicitly state a rule of extraterritoriality and “context can be consulted,”

there must be an “affirmative indication” of Congress’s extraterritorial

intent. Id. at 265.

       Thus, the first step in any inquiry—civil or criminal—is “whether the

presumption against extraterritoriality has been rebutted—that is, whether

the statute gives a clear, affirmative indication that it applies

extraterritorially.” RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090, 2101

(2016) (discussing RICO statute’s extraterritorial hold). If there is no clear,

affirmative indication of extraterritorial application, courts are instructed to

consider

       whether the case involves a domestic application of the
       statute. . .by looking to the statute’s focus. If the conduct
       relevant to the statute’s focus occurred in the United States,
       then the case involves a permissible domestic application
       even if other conduct occurred abroad; but if the conduct
       relevant to the focus occurred in a foreign country, then the
       case involves an impermissible extraterritorial application
       regardless of any other conduct that occurred in U.S. territory.
       Id. (quotation marks omitted).

       In other words, if there is no clear Congressional intent for

extraterritoriality, the Court must determine (1) the statute’s focus and (2)

whether the conduct relevant to the focus occurred in the United States. Id.

       The government and the magistrate rely on United States v. Bowman,

260 U.S. 94, 98–99 (1922) and United States v. Leija-Sanchez, 602 F.3d 797, 799

(7th Cir. 2010) (“Leija-Sanchez I”) to stand for the broad proposition that the

presumption against extraterritoriality does not apply to criminal cases. In



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light of Morrison and RJR Nabisco, this is not the correct standard. However,

neither case has been overruled—and, indeed, there is no conflict with their

holdings.

       In Bowman, the Supreme Court held that a criminal fraud statute

applied to certain extraterritorial conduct at sea and in foreign ports after

finding that Congress must have intended it to apply to at-sea vessels and

foreign ports. 260 U.S. at 102. Although the statute did not explicitly say

that it applied extraterritorially, the Supreme Court determined that

Congress’s intent for extraterritorial application could be inferred from the

function of the statute and from other sections in the statute’s chapter,

which was titled, “Offenses against the Operation of Government.” Id. at

98–99; see also; RJR Nabisco, 136 S. Ct. at 2102 (“an express statement of

extraterritoriality is not essential.”). Thus, the Bowman opinion shows the

Supreme Court’s determination that there was a “clear, affirmative

indication” that the statute applied extraterritorially. See Morrison, 561 U.S.

at 265; RJR Nabisco, 136 S. Ct. at 2101.

       In 2016, the Seventh Circuit upheld its decision in Leija-Sanchez I,

which found that a criminal RICO statute applied extraterritorially to

individuals who murdered a Mexican man in Mexico. United States v. Leija-

Sanchez II, 820 F.3d 899, 900 (7th Cir. 2016) (Leija-Sanchez II). Ten days after

the Seventh Circuit denied rehearing in Leija-Sanchez II, the Supreme Court

issued RJR Nabisco, which noted that “[t]he unique structure makes RICO

the rare statute that clearly evidences extraterritorial effect despite lacking

an express statement of extraterritoriality.” RJR Nabisco, 136 S. Ct. at 2103.

In the Leija-Sanchez cases, the murder was arranged and paid for in the

United States in order to protect a criminal organization based in the United

States, whose focus was defrauding the United States government. See Leija-


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Sanchez II, 820 F.3d at 901. The Court will not take it upon itself to re-write

the Seventh Circuit’s analysis in light of RJR Nabisco, but merely observes

that it is possible to reconcile Leija-Sanchez I & II with the rule in RJR Nabisco.

       Therefore, the proper rule to apply is that of RJR Nabisco: if Congress

has not evinced an affirmative intent to apply the statute extraterritorially,

the Court must assess the focus of the statute, and determine whether the

conduct relevant to the focus occurred in the United States. Under RJR

Nabisco, some conduct could occur outside of the United States as long as

the conduct relevant to the focus of the statute occurred inside the United

States. However, as stated above, the conduct that the superseding

indictment alleges took place in the United States. Therefore, the Court

need not evaluate Sections 2512, 1343, or 1001 for extraterritorial

application.

               4.2.7   Counts One Through Eight and Ten do not Violate
                       Due Process

       Hutchins argues that there is an insufficient nexus between his

conduct and the United States, which violates his Due Process rights.

Generally, a defendant must have adequate contacts with the United States

in order to support United States jurisdiction. See In re Hijazi, 589 F.3d 401,

412 (7th Cir. 2009); Restatement (Third) of Foreign Relations Law §§ 402,

403 (1987); see also United States v. Yousef, 750 F.3d 254, 262 (2d Cir. 2014)

(“The due process requirement that a territorial nexus underlie the

extraterritorial application of a criminal statute. . . protects criminal

defendants from prosecutions that are arbitrary or fundamentally unfair.”)

(citations and quotations omitted).

       As the magistrate noted, the government’s superseding indictment

states the approximate date and location for each charge, and briefly


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describes the allegedly unlawful conduct that occurred in the United States.

To the extent that the government prosecutes Hutchins’s activities within

the United States—specifically, the Eastern District of Wisconsin—the

Court finds that there is adequate nexus as alleged in the superseding

indictment. For example, if, as it is alleged, Hutchins promoted his malware

to individuals in the Eastern District of Wisconsin, then he could reasonably

foresee being haled before this Court for trial on that issue. See United States

v. Perlaza, 439 F.3d 1149, 1168 (9th Cir. 2006) (“The nexus requirement is a

judicial gloss applied to ensure that a defendant is not improperly haled

before a court for trial.”) (citations and quotations omitted). Whether

Hutchins actually did any of the alleged conduct is a question for the jury.

              4.2.8   The Superseding Indictment Properly Alleges Count
                      Nine

       Count Nine charges Hutchins with lying to the FBI in violation of 18

U.S.C. § 1001(a)(2). (Docket #86 at 14). The crux of Hutchins’s argument here

is that Count Nine should be dismissed if Counts One through Eight and

Ten are dismissed, because the FBI “had no power to exercise authority

against Mr. Hutchins.” (Docket #105 at 17) (citations and quotations

omitted). Because none of the charges above are dismissed, the Court finds

that the FBI was properly within its jurisdiction to investigate these claims.

Therefore, the charge that Hutchins lied to the FBI must also go forward.

5.     Conclusion

       The Court lacks a sufficient basis to grant the motion to suppress or

the motions to dismiss. Indeed, many of Hutchins’s contentions are not

properly resolved at the motion to dismiss stage. Therefore, the Court

adopts the magistrate’s recommendation to deny all motions.




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      Accordingly,

      IT IS ORDERED that Marcus Hutchins’s motion to suppress

(Docket #55) be and the same is hereby DENIED;

      IT IS FURTHER ORDERED that Marcus Hutchins’s motion to

dismiss (Docket #56) be and the same is hereby DENIED as moot;

      IT IS FURTHER ORDERED that Marcus Hutchins’s motions to

dismiss (Docket #92, #95, and #96) be and the same are hereby DENIED;

      IT IS FURTHER ORDERED that Marcus Hutchins’s objections to

Magistrate Judge Nancy Joseph’s Report and Recommendation (Docket

#111) be and the same are hereby OVERRULED in accordance with the

terms of this Order; and

      IT IS FURTHER ORDERED that Magistrate Judge Nancy Joseph’s

Report and Recommendation (Docket #109) be and the same is hereby

ADOPTED in accordance with the terms of this Order.

      Dated at Milwaukee, Wisconsin, this 11th day of February, 2019.

                                BY THE COURT:




                                J.P. Stadtmueller
                                U.S. District Judge




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